Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 1 of 9 PageID 85




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  ASHLEY JORDAN MANKIN

              Plaintiff,

  v.                                 Case No. 8:15-CV-2071-T-33JSS


  HAIR THERAPY FOR WOMEN, LLC,
  ET AL.,

            Defendants.
  _____________________________/

                                  ORDER

        This matter comes before the Court on Defendants Hair

  Therapy for Women, LLC and Bobbi Russell’s Motion to Stay

  Proceedings and Compel Arbitration (Doc. # 18), filed on

  October 14, 2015. Plaintiff Ashely Jordan Mankin filed a

  response in opposition on October 26, 2015. (Doc. # 20). Being

  otherwise fully advised, the Court denies the Motion Compel

  Arbitration for the following reasons.

  I.    Background

        Mankin filed the instant action on September 8, 2015.

  (Doc. # 1). The one-count Complaint alleges that Hair Therapy

  and Russell violated the Fair Labor Standards Act, 29 U.S.C.

  § 216(b), (FLSA) by failing to pay overtime compensation for

  hours worked over 40 in any given workweek. (Id. at ¶¶ 12-



                                    1
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 2 of 9 PageID 86




  15). Hair Therapy and Russell filed a Motion to Dismiss

  pursuant to Federal Rule of Civil Procedure 12(b)(6) for

  failure to state a claim on October 7, 2015 (Doc. # 12), which

  was denied by this Court on October 13, 2015 (Doc. # 15).

  Thereafter, Hair Therapy and Russell filed their Answer and

  the pending Motion to Compel Arbitration on October 14, 2015.

  (Doc. ## 17-18).

        Attached to the Motion to Compel Arbitration is a copy

  of an employment Agreement, which was entered into by Hair

  Therapy and Mankin. (Doc. # 18-1). The Agreement contains the

  following clause:

        17. Mediation and Arbitration. Any disputes
        between the parties hereto, whether arising under
        this Agreement or otherwise, which the parties
        cannot resolve between themselves using good faith
        shall be:

              17.1 Referred to a court certified mediator of
              the Circuit Court in the County of the
              principal office of the Employer, and any
              mediation shall be held in the County of the
              principal office of the Employer. The parties
              shall share equally in the cost of said
              mediation.

              17.2 In the event that said dispute is not
              resolved in mediation, the parties shall
              submit the dispute to a neutral arbitrator
              residing in the County of the principal
              address of the Employer. The arbitration shall
              be held in the County of the principal office
              of the Employer. The Employer shall recover
              all fees and costs of said arbitration. In the
              event that the parties are unable to agree


                                    2
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 3 of 9 PageID 87




              upon an arbitrator within 15 days of the date
              on which either party requests arbitration of
              a matter, the arbitrator shall be provided by
              the American Arbitration Association. The
              parties further agree that full discovery
              shall be allowed to each party to the
              arbitration and a written award shall be
              entered forthwith. Any and all types of relief
              that would otherwise be available in Court
              shall be available to both parties in the
              arbitration. The decision of the arbitrator
              shall be final and binding. Arbitration shall
              be the exclusive legal remedy of the parties.
              Judgment upon the award may be entered in any
              court of competent jurisdiction pursuant to
              Florida Statutes Chapter 682, as amended, The
              Arbitration Code.

  (Id. at 4-5).

        However, this is not the first suit between Hair Therapy

  and Mankin. On March 2, 2015, Hair Therapy filed suit against

  Mankin and Lavish Locks by Jordan, LLC, a non-party to the

  instant action, in the 13th Judicial Circuit, in and for

  Hillsborough County, Florida, Case Number 15-CA-001943. (Doc.

  # 20 at 5). In the earlier-filed state court action, Hair

  Therapy seeks relief for an alleged violation of a non-compete

  provision in the Agreement between Hair Therapy and Mankin.

  (Id.). A review of the state court’s docket shows no motion

  to compel arbitration has been filed.1


  1 Martin K. Eby Const. Co., Inc. v. Jacobs Civil, Inc., No.
  3:05-cv-394-J-32TEM, 2006 WL 1881359, at *1 (M.D. Fla. July
  6, 2006) (stating “the Court may take judicial notice of
  documents filed in other judicial proceedings . . .”).


                                    3
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 4 of 9 PageID 88




  II.    Discussion

         “The validity of an arbitration agreement is generally

  governed by the Federal Arbitration Act, 9 U.S.C. §§ 1 et

  seq. (the ‘FAA’). . . .” Caley v. Gulfstream Aerospace Corp.,

  428    F.3d    1359,   1367    (11th    Cir.    2005).    The       FAA   places

  arbitration       agreements     on    the     same    footing       as   other

  contracts,     Id.,    and    “arbitration      is    simply    a    matter   of

  contract . . . .” First Options of Chi., Inc. v. Kaplan, 514

  U.S.    938,    943    (1995).    “[W]hen       determining         whether   an

  arbitration agreement exits, ‘courts generally . . . should

  apply ordinary state-law principles that govern the formation

  of contracts.’” Dasher v. RBC Bank (USA), 745 F.3d 1111, 1116

  (11th Cir. 2014) (quoting First Options of Chi., 514 U.S. at

  944); see also Caley, 428 F.3d at 1368.

         However,     “whether     [a    party]    waived    its       right    to

  arbitration, as opposed to whether the contract is void under

  [state] law, is controlled solely by federal law.” S & H

  Contractors, Inc. v. A.J. Taft Coal Co., Inc., 906 F.2d 1507,

  1514 (11th Cir. 1990). “Arbitration should not be compelled

  when the party who seeks to compel arbitration has waived

  that right.” Morewitz v. W. of Eng. Ship Owners Mut. Prot.

  and Indem. Ass’n (Luxembourg), 62 F.3d 1356, 1365 (11th Cir.

  1995); see also Ivax Corp. v. B. Braun of Am., Inc., 286 F.3d


                                         4
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 5 of 9 PageID 89




  1309,    1315    (11th     Cir.    2002).    Although     “questions   of

  arbitrability must be addressed with a healthy regard for the

  federal policy favoring arbitration,” Moses H. Cone Mem’l

  Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983), “the

  doctrine of waiver is not an empty shell,” Morewitz, 62 F.3d

  at 1366.

        A party waives its right to compel arbitration when,

  under the totality of the circumstances, it “substantially

  participates in litigation to a point inconsistent with an

  intent   to     arbitrate    and   this     participation    results   in

  prejudice to the opposing party.” Id.; S & H Contractors, 906

  F.2d at 1514. Prejudice occurs where “the party seeking

  arbitration allows the opposing party to undergo the types of

  litigation      expenses    that    arbitration     was     designed   to

  alleviate.” Morewitz, 62 F.3d at 1366. In determining if a

  party has been prejudiced, courts consider “the length of

  delay in demanding arbitration and the expense incurred by

  that party from participating in the litigation process.” S

  & H Contractors, 906 F.2d at 1514.

        The Court finds Morewitz, 62 F.3d 1356, instructive. In

  Morewitz a cargo ship disappeared at sea, along with its

  eighteen crew members. Id. at 1359. The administrator of the

  estates of crew members sued the ship’s owner and manager in


                                       5
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 6 of 9 PageID 90




  the District Court for the Eastern District of Virginia. Id.

  Thereafter,       the   administrator      brought     suit    against      the

  insurer in a separate action in the District Court for the

  Southern District of Alabama. Id. at 1358, 1360-61. The

  insurer moved to compel arbitration, which the district court

  granted. Id. at 1361. Because of the administrator’s refusal

  to arbitrate, the district court dismissed the action with

  prejudice. Id. On appeal, the Eleventh Circuit reversed. Id.

  at 1367. The court held that the insurer waived its right to

  compel arbitration because it had retained counsel to defend

  the action brought by the administrator in Virginia and yet

  never    mentioned      the   arbitration     clause   in     the    insurance

  policy. Id. at 1359, 1366.

          Furthermore, the Eleventh’s Circuit more recent opinion

  in Ivax, 286 F.3d 1309, does not change the outcome here. In

  that case, Ivax and Braun entered into an agreement whereby

  Braun     would    purchase     all   outstanding      stock        of   Ivax’s

  subsidiary.       Id.    at   1311.     The   agreement       contained         an

  arbitration clause and a clause allowing Ivax to have its

  accounting firm verify Braun’s records. Id. at 1312. Braun

  subsequently      required     Ivax’s     accounting    firm    to       sign   a

  confidentiality agreement as a precondition to examining its

  financial records. Id. at 1313. Braun thereafter filed suit


                                        6
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 7 of 9 PageID 91




  against     the   accounting     firm     alleging    it     breached      the

  confidentiality agreement. Id. at 1314. The next day, Ivax

  sued Braun and Braun moved to compel arbitration. Id. at 1315-

  16. The district court denied the motion to compel arbitration

  on the ground that Braun waived its right to arbitration by

  filing suit against the accounting firm. Id. at 1315-16.

        On appeal, the Eleventh Circuit held that Braun had not

  waived its right to compel arbitration in the suit between

  Ivax and Braun by filing suit against the accounting firm.

  Id. at 1323. The court reasoned that Braun’s suit against the

  accounting firm did not constitute a waiver of its right to

  compel     arbitration    in    the    Ivax     litigation    because      the

  accounting firm was not a party to the arbitration agreement.

  Id.   at    1316-17.     In    reaching    its    decision,     the     court

  distinguished precedent standing for the proposition that

  when a party seeking to compel arbitration in a later-filed

  action is the plaintiff in an earlier-filed action between

  co-signatories to an arbitration agreement, then the party

  seeking to compel arbitration will have waived its right to

  compel arbitration. Id. at 1317.

        When read together, Morewitz and Ivax stand for the

  following    proposition.       As    between    co-signatories       to    an

  arbitration agreement, when one signatory first sues another


                                        7
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 8 of 9 PageID 92




  signatory without resorting to arbitration and the requisite

  prejudice exists, then that party waives its right to compel

  arbitration in a later-filed action by the other signatory.

  In contrast, when a signatory files suit only against a non-

  signatory, then the signatory has not have waived its right

  to compel arbitration in a later-filed action by another

  signatory.

        Applying the above to the instant case, it is evident

  that Hair Therapy waived its right to compel arbitration in

  this action brought by Mankin. Hair Therapy and Mankin are

  co-signatories to the same arbitration agreement. (Doc. # 18-

  1). Hair Therapy filed suit in state court against Mankin, a

  signatory to the arbitration agreement, and Lavish Locks by

  Jordan, a non-signatory, on March 2, 2015. (Doc. # 20 at 5).

  Notably, the earlier-filed state court action seeks relief

  for an alleged breach of the employment Agreement between

  Mankin and Hairy Therapy. (Id.). That same Agreement contains

  the arbitration agreement Hair Therapy now seeks to enforce

  in this instant action brought by Mankin. See (Doc. # 18-1).

        By filing suit against Mankin in state court, Hair

  Therapy has substantially participated in litigation to a

  point inconsistent with an intent to arbitrate. To be sure,

  the extent of Hair Therapy’s participation is evidenced by


                                    8
Case 8:15-cv-02071-VMC-JSS Document 21 Filed 10/29/15 Page 9 of 9 PageID 93




  the service and filing of interrogatories, two motions to

  compel, and a notice and subpoena to take the deposition of

  Mankin in the state court action. Case Number 15-CA-001943.

  Further, Hair Therapy’s participation prejudiced Mankin, who

  has been forced to defend a suit for more than 7 months in

  state court. See Id. For example, Mankin almost certainly

  incurred attorney’s fees for the preparation, service, and

  filing of her answer and affirmative defenses, objections to

  the notice and subpoena filed by Hair Therapy, and responses

  to Hair Therapy’s interrogatories. See Id. Therefore, under

  Morewitz, this Court denies Hair Therapy and Russell’s Motion

  to Compel Arbitration.

        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED:

        Hair Therapy for Women and Russell’s Motion to Stay

  Proceedings and Compel Arbitration (Doc. # 18) is DENIED.

        DONE and ORDERED in Chambers in Tampa, Florida, this

  29th day of October, 2015.




  Copies: All Counsel of Record




                                    9
